 Case 9:12-cv-80364-KAM Document 1-5 Entered on FLSD Docket 04/05/2012 Page 1 of 39




                    IN '17V UN ITED STAU DISTRICT COU RT
                   FOR THE SOUTIIERN DISTRICT OF FLORIDA
                           W EST PALM BEACH DIV ISION


UNITED STATES OF AX RICA .

      Plaintiff,

V.                                   CASE NO ,07-80998-ClV-RY SK AM P/V lTUNAC

JOldN KO RM A N,etal.,

      Defendants.
                                    /

 AURORA'SANFF ERSTO KORM ANS'H RST SET OFINTERROGATORV S
      Defendsnt Aurom Loan Services CAurora''),hereby responds to Defendsnts,
Jolm Korman and Pamela Korman (the tX ormans*')FimtSetofInteaogatories (the
Stlnteltogatories''),asfollows:
                              GENERAL O BJECTIO NS

      Aurora objeçts to the lnterrogatories to the extent they require disclosure of
attom ep clientcom municationsorattom ey work pm duct.

      Asto the correspondingly num e red Intr ogatories,Aurora states:

                           PRKLIM W ARY STATEM ENT

      n eanswerstothelntecogatoHestthetW nswers'')werepreparedafterre%onably
diligent inquiry by Aurora for the inform ation requested. The A nsw ers are based upon

such information ws wms m adily available to Aurorw and Aurora expressly reserves the

right, w ithout im posing on it any duty not required by the Florida Rules of Civil

                                      Page 1of7
                                  ExhibitA ,pg 1 of9
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Procedures to revise, correct add to or clarify tlle Answ ers when and if additional

information com esto itsattention.

       Aurora does notconcede the relevance orm ateriality ofany ofthe Interrogatories

orAnswcs,northesubjectmahertowhichtheIntecogatoriesrefer,orthatanyAnswer
is or w ill be adm issible evidence in this action. Aurora also does not w aive any

objection,whelerornotassertedherein,to tâeuseoftheM swersin thisaction.
       Attrora does not waive any ptivilege or im m unity from dlsclosurea including,

withoutlim itation,the attorney-clientprivilege,the accountantelientprivilege, thejoint

defense or com mon interest exception to waiver of privilege, or the w ork product

doctrine,w hich m ay attach to tàe inform ation ra ponsive to theInterrogatorio .

                                       ANSW ER S

      In addition to the GeneralObjections and the Preliminary Statemenk which are
incorporated by reference into each of the A nswers set forth below , Aurora further

respondsto the correspondingly nlpm bem d Interrogatories,asfollow s:

                                INTERR OG ATO RIES

        1. State the full nnm e,cu= nt address,and telephone num ber of each and
every person providing answers to these interrogatories in whole or in part and your
relationsM p to the Plaintiff or Defendants in this cmse, listed herein above within the
Caption.

             A NSM    R:

             Laura M ccann
             Cindy W allace
             A urera Loan Services,LLC
             10350 Park M eadow sDrive
             Littletow CO 80124
                                     Page 2 of7
                                  ExhibitA,pg 2 of9
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             A re you thenoteholder?

             A NSW ER :

             Yes



       3. Do you currently possess the original note containing the once wet ink
signature ofJohn K orm an?

             A NSM R:
             Yes




      4.     W as the original notc containing the once w et ink signature of John
Korm e ever under your care,custody or conkol? If your answ er is yes,under what
circumstances,furtherm ore you areto identify any relevantdocum ents.

             A NSW ER :

             Y es.




      5. D o you or did you ever have any rights under the M ortgage-Loan,
excluding the rightto collectthe m onthly payments?

             Ifyou do have additionalrights.other th% the rightto oollectthe m onthly
paymentj please explain, and you are to identify the doczJment of authority,
presumqtlvelyfiledwiththeClerkoftheCourtabycounselforAuroraonJune18,2008,
undertlustitle,herein-above.

             If you do not have any additional rights, other than the right to collect
monthly payments,and nodocument5led withtheClerk ofleCourtto datewould show
otherwise,plemse explain therationalew ith yourIiling on June of2008 by the law firm of
A werbach & Cohn, representing A urora Loan Services, as opposed to a M otion for
Dismissal(asDefendantinBrror)?
                                     Page 3of7
                                 ExhibitA,pg 3 of9
Case 9:12-cv-80364-KAM Document 1-5 Entered on FLSD Docket 04/05/2012 Page 4 of 39




             A N SW, ER :

             Yes. A urora refersto thenote and m ortgage which setsforth the rights and
obligationsbehveen theparties.



      6.     To the bestofyourH owledge,who isthenotc holder?

             ANSW ER :

             AuroraLoan Services,LLC



       7. Counscl for Aurora Loan Senrices filed with the Clerk ofthe Court,June
18, 2008, m ortgage docum enl to be exhibited, which did not include the docum ent
discharging the note between John K orm an and Lehm an BrothersBM k,duly recorded on
Jtme5,200% why not?
             ANSW ER :

      n e docum ents sled by Aurom 's counsel on June 18, 2008 wem only those
docum ents rdevant to Aurora's A firm ative defense of subrogation. M oreover, it is
Aurom 'sposition thatthenote and m ohgage havenotbeen discharged.




      8.     Doyourecognizethehereinattachedletteraddressed to

             M ichaelCohn
             Aworbach & Cohm P.A ,
             2600 M ocorm ick Drive,Stlite 100
             Clearwater,FL 33759
             (CounselforAuroraLoan Services)
             Certiied M ail#7007 2560 * 02 4034 8569

             ANSW ER;

             No.

                                      Page4 of7
                                ExhibitA ,4 of9
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       9. D id you respond to tM sherein attache letter,ifyou did,you are to identify
the docum entand provide a copy,how ever,ifyou did notrespond,why not?

             Pl- e note,1 now know the lettorholds m any inacouraoies,and for som e
re% on you failed to corred m y ir orance. 1'11go along w ith tbat,whatothert1)% that,if
anythingjustiiedthelackofresponseonyourpart?
             ANSW AR;
             N o. The letteré d notcallfora response.




       10. W ould itbe fairto charad erize one area ofthe m ortgage-lou between the
pe es,nam ely John K orm an and A urora Loan Service as when tlm pam ents have been
estopped by operation oflaw ,orpublic policy,thatthe function ofA urom l- n Smvices
which wasonce employed underthiK herein mortgage-loan (charaderized) ttas being
term inated?''

             If i e answ er is no, please explain and you are to all identify docum ents
pursuantto youransw er.

             A NSW ER

             N o. n e pam entsunderthe note and m odgage have notbeen estopped by
operation oflaw orpublicpolicy.



       11. IsA urora Loan Serviceslicensed to ope- e a businessin Florida?

             lf your M sw er is yes, you art to identify docum ents pursuant to that
authority.

             A NSW ER ;

             A urora Loan Servlces is a wholly owned subsidial of Lehm an Brothers
Bank FSB aadisnotsubjectlostatelkensing.


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                                ExhibitA,5 of9
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       12. W asA urora Loan Services > ercontacted by the Intem alRevenue Service
in reference to this instr t herein m ortgage application,or any tim e l eroaRer, which
occurredpriortothefilingofthisinstantaction,ifyes,yleaseexplainbrieiyandyouare
to identify tlw dœ um ents soughtand any com m tm icatlons thatm ay have occun'
                                                                              ed and
between w hom .

             A NSW ER :
             No.




       13. You are to identify the person w orking for A urora Loan Services that
authorizedthisactiontocontinueasaDefendant(inerror),withoutobjedion,andunder
whatprem ise was thisaction allow ed to continue,or identify the law fulauthority vested
w ithin,asbeing the realparty in interest?

             AN8W ER
             Aurora is the assir ee of the m ortgage, pursuant to the Corporate
A ssignm entofM ohgageattached hereto.




      14. W hatdo you know aboutthe Tax Levy thatw as served bearing the name of
John Korm an?

             ANSW ER :

            Nothingotlwrthan whatisstated intheNoticeofFedemlTax Lien.




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                                ExhibitA,6 of9
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                                    John K orm an
                                   934 SW 21 W ay
                               Boca R aton Florida 33486
                                     56 1.393.0773
                              kormanzool@ comcastnet
   AuroraLoan Services                                      April17th, ctlt)g
   10350 Park M eadowsD rive
   Littleton,CO 80124
   720.945.3000
   800.880.0128

   Registere M ail# 7007 2560 0002 4034 8545

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   D earM elissa R arnirez;
   Thnnk you foryourletterdated A pril8th2008, w herein you state being
   regulated by the O ffce ofThriR Supervision.This O ffice isa sociated w ith
   the ttD epnrtm entofthe Treasury.''Could you be so kind asto identify this
   uD epne m ent ofthe Treasury?'' The remson form y question is sim ply this;
  The United StatesofAm erica hasnothad aTreasury sincethe l930's.
  W hich Treasury isAuroraLoan Servicesa mem beroo

  Furthermore,m u claim tobésomethingotherthanaCollectionAgency.Are
  y0u the lender?Areyou a Collection Agency acting asthearm ofthe
   lender?

  W hatIam asking isforDisclosureasto who loaned m e what.Ipay a
  company called A urora Loan Services,w hich is a collection agency but
  apparently borrow ed m oney from a Bank called the LEI'IM AN BR O TM R S
  BANK FSB.IsAuroraLoan Servicesand LEHM AN BROTX RS BANK
  FSB the sam e entity by ow nership?

   In the eventthatA urora Loan Services is a separate corporation thatis acting
  in the capacity colled ing debts for a third party,itis incum bentupon you
  pursuantto the FairD ebtCollection Practices A ct,15 U SC 1692g Sec.809
  (b)thatyourclaim to betheNOTE HOLDER isdisputed,thereforethe

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   payee being AuroraLoan Serviceslnc.,isdisputed and validation is
   requested.

   Theundersigned isnotrequesting çtverification''orproofofhismailing
   address,butarequestforVALIDATION madepursuantto theabovenam ed
   Titleand Section.lrespectfùlly requestthatyouroffcesprovide m ew ith
   competentevidencethatIhave any legalobligation to pay you psthe NOTE
                                                                    .

   HOLD ER ofthe çûm ortgage.''                       '

   ln the eventA uroraLoan Servicesand LEIIM AN BROTHERS BAN K FSB
   is the sam e entity byw ay ofow nership,please verify m y debt W ho orw hat
                                                                .

   loaned the m oney to buy m y hom e?

   I am in receiptofyour letterw herein 1 see a docum ententitle N O TE .W ho is
   the N OTE H O LD ER ? W ho is the Lender? Ido nothave any docum ents that
   contain the Lender's signature,w hy?

  Ple% e provide m ew ith thefollowing;
  Complete disclosure pursuantto 15 USC 1692g,including butnotlim ited
  t0;
  Thatyou arelicensed to collectin my state,allDebtCollectorsm ustbe
  licensed to collectdebtsw ithin Florida.
  Providem ew ith yourlicensenpm bersand Registered Agent.Yourfailureto
  providethisinform ation willresultin a letterto TheFederalTrade
  Com m ission to investigateyourallegations.

  Furtherm ore ithms com e to m y attention thatyou apparently are w ithholding
  ourpaym entspastthe pay date in orderto generate a late fee.Thispractice
  is illegal.Tw o days ago the postom ces around the country rem ained open
  tm tilm idnightso thatthe taxpayersm ightpostm ark theirincom e taxes
  before the deadline.Thatpostm ark isthe legaltthand-offbw hereby A urora
  received thatpaym ent.1can notbe held responsible foryourinefficiency    .

  K indly rem ove a116fthelatepaym entsfrom thisaccount.

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Case 9:12-cv-80364-KAM Document 1-5 Entered on FLSD Docket 04/05/2012 Page 12 of 39




   John K orm an




                         ExhibitB,pg 3 of3
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              CAPITOL BRANCH                     RECORDS MANAGEM ENT SERVICES                ADMINISTRATIVE CODE AND W EEKLY
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  Case 9:12-cv-80364-KAM Document 1-5 Entered on FLSD Docket 04/05/2012 Page 30 of 39
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                 REQUEST FOR ORAL ARGUM ENT ON BEHALF
                  O F TH E FLO RIDA BM u R s A SSO CG TION

          The Florida Bankers A ssociation,by and through its undersi> ed counsel,

  respectfully requests to participate in oral argum ent if the Cèurt deem s such

  argum entusefuland appropdate on the Em ergency Rule and Form Proposals of

  the Suprem e Couh Task Force on ResidentialM ortgageForeclosureCases.

  Florida BnnkersA ssociation

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                   *                               @


                       CERTIFICATE OF SERVICE

      I C REBY CERTIFY that a true and correct copy of the foregoing
com m ents have been served on n e Honom ble Jennifer D .Bailey,Task Force
Chair,73 W .Flagler Skeet,Suite 1307,M iam i,Florida 33130-4764,this    ay
ofSeptem ber,2009.

                                 *       .



                            Virg' Townes,Esquire
                            Florid arN o.361879




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(01457250;1)                         2
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          C O M M EN T S O F TH E FLO R ID A BA N K ER S A SSO C IA TIO N

        The Florida Bankers A ssociation thanks this Honorable Court for the

opportunity to com m ent on the Em ergency Rule and Form Proposals of the

Suprem e C ourtTask Force on R esidentialM ortgage Foreclosure C ases.

                                   lntroduction:

        The Florida Bankers Association (''FBA'') is one ofFlorida's oldesttrade
association. 11 m em bership is com posed of m ore than 300 bankg and financial

institutions ranging in size from sm all com munity banks and thrifts,to m edium

sized banks operating in several parts of the state,to large regional financial

institutions headquartered in Florida or outside the state. The FBA serves its

constim ents and the citizens of the state of Florida by serving as an indus>

resource to a11branchesand levelsofgovermnentin addressing those issueswhich

affectthe delivery ofsnancialserviceswithin thisstate.




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                        SJJM .
                             M ARY OF THE COM M XN TS
        The Suprem e CourtTask Force on ResidentialM ortgage Foreclosure Cases

(''Task Force'')proposesan amendmenttoFloridaRuleofCivilProcedure 1.110to
require verification ofresidentialm ortgage foreclosure com plaints. The proposed

rule doesnoteffectuate its stated goalofdeterdng plaintiffsthatare notentitled to

enforce the underlying obligation 9om bringing forecloslzre actions. Existing and

effective 1aw provides better substantive protection against tm authorized

foreclosure suits. Section 673.3091,Florida Stamtes,establishes sG ngent proof

standardswhen the originalnote isnotavailable,and requiresthe courtto protect

the m ortgagor against additional foreclosure actions. ln addition,the courts have

ample authority to sanction lawyers and lenders asserting im proper foreclosm e

claim s. This authority is explicitin Florida 1aw and implicitin the courts'inherent

pow erto sanction bad faith litigation. Finally,the proposed am endm entim poses a

substantive condition precedentto foreclosing a residentialm ortgage foreclosm es

and thus appears to violate Florida's constitutional doctrine of separation of

P0W erS.

                                   CO Y       EN TS

        TH E PR O PO SED A M EN D M EN T M qLL N O T EFFEC TU A TE TH E
        D ESIRED G O A L.

        The rationale for the proposed am endm ent is set forth in the proposalfor

prom ulgation'
             .

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              This rule change is recom m ended because of the new econom ic
      reality dealing w ith m ortgage foreclosure cases in an era of
      securitization. Frequently,the note has been transferred on m ultiple
      occasions prior to the default and filing of the foreclosure. Plaintiffs
      statusas ownerand holderofthe note atthe tim e offiling has becom e a
      significant issue in these case,particularly because m any firm s file lost
      note counts as a standard altem ative pleading in the complaint. There
      have been situations w here tw o different plaintiffs have filed suit on the
      sam e note at the sam e tim e. Requiring the plaintiff to verify its
      ownership ofthe note atthe tim e of filing provides incentive to review
      and ensures thatthe filing isaccurate,ensuresthatinvestigation has been
      m ade and that the plaintiff is the owner and holder ofthe note. This
      requirementwillreduce confusion and givethetrialjudgestheauthority
      to sanction those w ho file w ithoutassuring them selves oftheir authority
      to do so.

        W ith respect and appreciation for the efforts of the Task Force and its

laudable goals, the proposed am endm ent w ill not effectuate the reduction of

confusion orgivetrialjudgesany authority they currently lack.
        A.     Plaintift'sStatusasOwnerand Holderofthe Note.

        In actllnlpractice, confusion over w ho ow ns and holds the note stem s less

from the fact that the note m ay have been transferred m ultiple tim es than it does

from the form in which the note is transferred. ltis a reality of com m erce that

virtually all paper docum ents related to a note and m ortgage are converted to

electronic files alm ost im m ediately aAer the loan is closed. lndividual loans, as

electronic data,are com piled into portfolios w hich are transferred to the secondary

m arket,frequently as m ortgage-backed securities. The records of ow nership and

paym entarem aintained by a servicing agentin an electronic database.


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        The reason ''m any firm s fle lost note counts as a standard altem ative

pleading in the com plaint'' is because the physical docum ent was deliberately

elim inated to avoid confusion im m ediately upon its conversion to an electronic

ûle. See State s'
                /rcc/Bank and Fr= /Company v.Lord,851 So.2d 790 (F1a.4tll
DCA 2003).Electronicstorage isalmostuniversally acknowledged assafer,more
efticient and less expensive than m aintaining the originals in hard copy, w hich

bears the concom itant costs of physical indexing, archiving and m aintaining

security. ltis a standard in the industry and becoming the benchm ark ofm odern

efficiency acrossthe spectnlm ofcom m erce- including the courtsystem .

        The inform ation review ed to verify the plaintiffs authority to com m ence the

m ortgage foreclosure action w illbe drawn from the sam e database that includes

the electronic docum entand the record ofthe eventof default. The veritk ation,

made''tothebestof(thesigning recordcustodiatfs)knowledgeandbelief'willnot
resolve theneed to establish the lostdocum ent.

        B.     The Process for Re-Establishing the N ote Provides Significant
               Substantive Protection to the M ortgagor.

        The process for re-establishm ent of a lost or destroyed instrum ent by law

im poses a strictburden ofproofand instructsthe courtto protectthe obligorfrom

m ultiple suits on the sam e instrum ent. Section 673.3091,Florida Statutes, sets

forth the elem ents a plaintiffm ustprove in orderto enforce an obligation forw hich

itdoesnothavetheoriginalinstrum ent:

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       A person not in possession of an instm m ent is entitled to enforce the
       instrum entif:

        a)person seeking to enforce the instnzmentwasentitled to enforce the
        instnzmentwhen lossofpossession occurred,orhasdirectly orindirectly
        acquired ownership ofthe instrum entfrom a person who wasentitled to
        enforce the instnxm entwhen loss ofpossession occurred.

       b)Thelossofpossession wasnottheresultofatransferby theperson or
        alaw fulseizure;and

        c) the person cannot reasonably obtain possession of the instrum ent
       because the instrum ent w as destroyed, its w hereabouts carm ot be
       determined,oritis in the wrongfulpossession ofan unknown person or
       aperson thatcannotbefotmd orisnotam enable to service ofprocess.

Once the plaintiff has plead and proved the foregoing,there is an additional
'
Judicialrequirem ent:

       The courtm ay not enter judgm ent in favor ofthe person seek ng
       enforcem ent unless it nnds that the person required to pay the
       instrum ent is adequately protected against loss that m ight occur by
       reason of a claim by another person to enforce the instrum ent.
       A dequate protection m ay be provided by any reasonable m eans.

j673.309142),Fla.Stat.(emphasisadded).l Thisprotection maybeeffecm ated by
any m eanssatisfactory to the court. ltcom m only takesthe form ofa provision in

the fmaljudgmentstating thatto the extentany obligation ofthe note is later
deemed not to have been extinguished by merger into the finaljudgment,the
plaintiff has by 1aw accepted assignm ent ofthose obligations. In other w ords,the

1The legislature sm ended Section 673 3091, Florida Statutes, in 2004 to address
                                       .

the issues raised by the State S/rccfcourtin recognition ofthe comm ercialreality
that alm ost al1 purchase m oney notes are electronically stored and mssigned in
electronicform .

lO1456895;1)                               5
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plaintiffwho enforces a lostor destroyed instrum entassum es the risk thata third

party in lawfulpossession ofthe odginalnote or with a superior interesttherein

w illassertthatclaim . The odginalobligorhas no liability.

        C . Courts H ave Statutory and lnherent A uthority to Sanction Plaintiffs
            A sserting C laim sN otSupported by Law orEvidence.

        Any party seeking to foreclose a m ortgage without a good faith belief-

based on investigation remsonable underthe circum stances--in the factsgiving rise

to theasserted claim m ay be sanctioned ''upon the court'sinitiative.'' j 57.105(1),
Fla.Stat. Thisstatute,though somewhatundem sed by otlrcourts,affordsjudges
the authority to im m ediately im pose signifk ant penalties for bringing unfounded

litigation. Perhaps more signitk ant is this Courfs recent (and appropriate)
reaf/rm ation ofa trialcourt'sinherentauthority to sanction litigants- specitk ally

alorneys--who engage in bad faith and abusive practice. See M oakely v.

Smallwood,826 So.2d 221,223(F1a.2002),citing United StatesSavingsBankv.

Pittman,80 Fla.423,86 So.567,572 (1920)(sanctioning attorney for acting in
bad faith inamortgageforeclosme sale).2



2The potentialfor sanctionsis in addition to the significanteconom ic deterrence
to bringing unautholized foreclosure actions. Presuit costs such astitle searches
and identification oftenants and/or subordinate lienors,the escalating tiling fees
and costsofservice (particularly publication selvice and the concomitxntcostof
diligentsearch ifthe mortgagorno longerresides in the collateral) signitkantly
raisethe costoffiling a suitin error.

(01456895;1)                            6
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ll.     REQUIRING      W RIFICATION         OF RESIDENTIAL         M ORTGAGE
        FORECLOSURE COM PLM NTS IM PLEM EN TS PUBLIC POLICY
        W ITH IN 'ITIE LEGISLA TY 'S C ON STITU TION M A U TH O R ITY .

        The Task Force Report giving rise to the proposed am endm ent clearly

speaks to a public policy concern unrelated to the procedural concem s of the

courts. 'l'he stated purpose- to prevent the sling of m ultiple suits on the sam e

note- is clearly a matter of public policy rather than one of court procedure.

Requiring veritk ation of a residentialm ortgage foreclosure com plaint imposes a

condition precedent to access to courts that exceeds the proceduralscope of the

Florida Rule of Civil Procedure 1.110. ln situations in which verification of

com plaints or petitions is established asa threshold requirem ent for pursuing an

action,thatrequirem entisimposedby thelegislature.See,e.g.,j702.10,Fla.Stat.
(requiring veriscation of mortgage foreclosure complaint where plaintiff elects
Orderto Show Cause procedure.) lfpublic policy favors setting an evidentiary
threshold for access to courts, the legislature must exercise its policy-m aking

authority.

        The only other rule of civilprocedure which imposes the duty to verify a

petition isapetition fortemporary injlmction. Fla.R.Civ.P.1.610. Therationale
for requiring verifcation there is clear: The petition itself and any supporting

affidavitsconstitute the evidence supporting the requested temporary injtmction.
The court's decision is m ade solely on the evidentiary quality ofthe docum ents


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before it. Thatis notthe case here. Veriscation ofthe foreclosm e com plaintwill

notrelievethe plaintiffseeking to foreclose a residentialm ortgage ofthe burden of

proving by com petent and substantial evidence that it is the holder of the note

secured by the m ortgage and entitled to enforcethem ortgagor'sobligation.

        V edtk ation adds little protection for the m ortgagor and,realistically,w ill

notsignifk antly dim inish the burden on the courts. The am endm entis notneeded

orhelpful.

                                  C O N C L U SIO N

        The Florida B ankers A ssociation recognized the hard w ork and the laudable

goals of the Suprem e Court Task Force on Residential M ortgage Foreclosure

Cases. H ow ever,itappearsthatin the urge to find new waysto addressthe crisis

facing m ortgagors and m ortgagees as w ell as the court system , the Task Force

fashioned a new and ineffectualrule while ignoring the panoply ofsignificantand

substantive weapons already provided by Florida law. The Florida Bankers

Association respectfully requests that this Honorable Court decline to adopt the

proposed am endm entto Florida Rule ofCivilProcedure 1.110.




(01456895;1)                              8
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